      Case 5:04-cr-40141-JTM        Document 98   Filed 01/26/05   Page 1 of 16




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                                   Plaintiff,

      Vs.                                           No. 04-40141-01/02-SAC

ARLAN DEAN KAUFMAN, and
LINDA JOYCE KAUFMAN,

                                   Defendants.


                           MEMORANDUM AND ORDER

             The case comes before the court on the government’s motion to

disqualify defense counsel (Dk. 74) and the government’s unopposed motion for

complex case designation (Dk. 81). On January 18, 2005, the court heard

arguments and suggestions from the parties, granted the unopposed motion for

complex case designation, and took the motion to disqualify counsel under

advisement. Having reviewed the matters submitted and researched the governing

law, the court rules as follows.

MOTION TO DISQUALIFY (Dk. 74).

             The government seeks to disqualify the law firm of Wyrsch, Hobbs &

Mirakian, P.C. (“Wyrsch firm”) which currently represents both defendants from

representing either defendant. The government argues two grounds: first, that
      Case 5:04-cr-40141-JTM        Document 98      Filed 01/26/05     Page 2 of 16




good cause exists for believing the joint representation creates a conflict of interest,

and second, that an attorney associated with the Wyrsch firm is likely to be a

witness at trial. In opposing the motion, the defendants deny that the argued

conflict of interest is anything more than speculation, but should the court find an

actual or potential conflict then the defendants offer an alternative remedy short of

disqualification, namely, the defendants’ written waivers of conflict-free counsel

and the retention of independent trial counsel for Linda Kaufman. The defendants

dispute that James Fletcher’s involvement and activities in this case make him a

necessary witness at trial.

GOVERNING LAW

              The Sixth Amendment to the United States Constitution guarantees the

right of counsel to a defendant in a criminal prosecution. This “right to effective

assistance of counsel contemplates the right to conflict-free representation.”

Martinez v. Zavaras, 330 F.3d 1259, 1262 (10th Cir.) (citing Holloway v.

Arkansas, 435 U.S. 475, 483-84 (1978)), cert. denied, 540 U.S. 973 (2003). The

right to conflict-free counsel extends to plea negotiations and proceedings, trial,

and sentencing. See Holloway, 435 U.S. at 490-91. Because the focus of this right

is with insuring a fair adversarial process and not with securing a particular

relationship between a defendant and his chosen counsel, the Supreme Court has

                                             2
      Case 5:04-cr-40141-JTM        Document 98      Filed 01/26/05    Page 3 of 16




observed:

       [W]hile the right to select and be represented by one’s preferred attorney is
       comprehended by the Sixth Amendment, the essential aim of the Amendment
       is to guarantee an effective advocate for each criminal defendant rather than
       to ensure that a defendant will inexorably be represented by the lawyer whom
       he prefers.

Wheat v. United States, 486 U.S. 153, 159 (1988). Thus, a defendant’s right to

choose his own counsel is subject to different limitations, including the one relevant

here, that is, when the defendant’s chosen counsel represents co-defendants and a

conflict of interest exists. Id. at 159-163.

              “Although multiple representation of co-defendants is not a per se

violation of the Sixth Amendment, it does contain great potential for conflicts of

interest.” United States v. Martin, 965 F.2d 839, 842 (10th Cir. 1992) (quoting

United States v. Burney, 756 F.2d 787, 790 (10th Cir. 1985)). “[M]ultiple

representation of criminal defendants engenders special dangers of which a court

must be aware.” Wheat, 486 U.S. at 159. A court must be alert to possible

conflicts of interest and determine if the conflicts require separate counsel. Id. at

160. Regardless of its ruling, a trial court may be “whipsawed” by subsequent

challenges of error in that the multiple representation resulted in ineffective

assistance of counsel or that the denial of multiple representation resulted in the

defendant losing his right to choose his own counsel. Id. at 161. For these

                                               3
       Case 5:04-cr-40141-JTM        Document 98        Filed 01/26/05     Page 4 of 16




reasons, it is important for the trial court to fulfill its duty to investigate cases of

joint representation and afford the parties an opportunity to create a complete

record on the relevant issues. Rule 44(c) of the Federal Rules of Criminal

Procedure1 lays out the trial judge’s duty to investigate, and the court here has

conducted a Rule 44(c) hearing with both sides having the chance to submit all of

their respective arguments and evidence.

              As provided by Rule 44(c), a court must act to protect each

defendant’s right to counsel, “[u]nless there is good cause to believe that no

conflict of interest is likely to arise.” In cases of joint representation, a conflict

occurs when the defendants’ interests “‘diverge with respect to a material factual or

legal issue or to a course of action,’” United States v. Martin, 965 F.2d at 842


       1
        Rule 44(c) provides:
       “(c) Inquiry Into Joint Representation.
              (1) Joint Representation. Joint representation occurs when:
                     (A) two or more defendants have been charged jointly under
                     Rule 8(b) or have been joined for trial under Rule 13; and
                     (B) the defendants are represented by the same counsel, or
                     counsel who are associated in law practice.
              (2) Court's Responsibilities in Cases of Joint Representation.
              The court must promptly inquire about the propriety of joint
              representation and must personally advise each defendant of the right
              to the effective assistance of counsel, including separate
              representation. Unless there is good cause to believe that no conflict
              of interest is likely to arise, the court must take appropriate measures
              to protect each defendant's right to counsel.”

                                               4
      Case 5:04-cr-40141-JTM       Document 98       Filed 01/26/05    Page 5 of 16




(quoting Cuyler v. Sullivan, 446 U.S. 335, 356 n.3 (1980); “when counsel cannot

use his best efforts to exonerate one defendant for fear of implicating the other,’”

Dokes v. Lockhart, 992 F.2d 833, 836 (8th Cir. 1993) (quoting Hayes v. Lockhart,

766 F.2d 1247, 1250 (8th Cir.), cert. denied, 474 U.S. 922 (1985)), cert. denied,

513 U.S. 968 (1994); and “whenever one defendant stands to gain significantly by

advancing plausible arguments that are damaging to the cause of a co-defendant

whom counsel is also representing,” United States v. McCaskey, 9 F.3d 368, 381

(5th Cir. 1993) (citations omitted), cert. denied, 511 U.S. 1042 (1994). When “the

available evidence points to significantly different levels of culpability” between the

jointly represented defendants, a conflict can develop. United States v. Stantini,

85 F.3d 9, 19 (2nd Cir.), cert. denied, 519 U.S. 1000 (1996). As explained in

Holloway, the “[j]oint representation of conflicting interests is suspect because of

what it tends to prevent an attorney from doing,” as in “from challenging the

admission of evidence prejudicial to one client but perhaps favorable to another or

from arguing at the sentencing hearing the relative involvement and culpability of his

clients in order to minimize the culpability of one by emphasizing that of another.”

435 U.S. at 489-90. Conflicts from joint representation arise not only in those

cases going to trial but may occur in plea negotiations and proceedings as well as in

sentencing hearings. See Moore v. United States, 950 F.2d 656, 660 (10th Cir.

                                            5
      Case 5:04-cr-40141-JTM       Document 98      Filed 01/26/05   Page 6 of 16




1991).

               As reflected in the advisory committee’s notes to Rule 44(c), a

contemplated remedy in the event of a conflict is a “knowing, intelligent and

voluntary waiver of the right to separate representation.” The Supreme Court in

Wheat, however, rejected the argument that as a corollary to “the Sixth Amendment

presumption in favor of counsel of choice” a waiver can cure any and all conflicts

arising from joint representation. 486 U.S. at 160-64. In fact, a waiver does not

allay a court’s independent concerns with “ensuring that criminal trials are

conducted within the ethical standards of the profession and that legal proceedings

appear fair to all who observe them.” 486 U.S. at 160. Additionally, the trial court

has “an independent duty to ensure that criminal defendants receive a trial that is

fair and does not contravene the Sixth Amendment.” 486 U.S. at 161. A trial court

conducts its proceedings with a legitimate concern for its final judgment

“remain[ing] intact on appeal.” Id. These independent interests may justify a trial

court’s refusal of a proffered waiver upon a finding of a conflict of interest. 486

U.S. at 162.

               The Supreme Court in Wheat observed that the trial court must

evaluate the appropriateness of a conflict waiver under some difficult

circumstances:

                                            6
      Case 5:04-cr-40141-JTM        Document 98       Filed 01/26/05     Page 7 of 16




              Unfortunately for all concerned, a district court must pass on the issue
       of whether or not to allow a waiver of conflict of interest by a criminal
       defendant not with the wisdom of hindsight after the trial has taken place, but
       in the murkier pre-trial context when relationships between parties are through
       a glass, darkly. The likelihood and dimensions of nascent conflicts of
       interest are notoriously hard to predict, even for those thoroughly familiar
       with criminal trials. It is a rare attorney who will be fortunate enough to learn
       the entire truth from his own client, much less be fully apprised before trial of
       what each of the Government’s witnesses will say on the stand. A few bits
       of unforeseen testimony or a single previously unknown or unnoticed
       document may significantly shift the relationship between multiple
       defendants. These imponderables are difficult enough for a lawyer to assess,
       and even more difficult to convey by way of explanation to a criminal
       defendant untutored in the niceties of legal ethics. Nor is it amiss to observe
       that the willingness of an attorney to obtain such waivers from his clients may
       bear an inverse relation to the care with which he conveys all the necessary
       information to them.

486 U.S. at 162-63. These described circumstances persuaded the Court to afford

district courts “substantial latitude in refusing waivers of conflicts of interests not

only in those rare cases where an actual conflict may be demonstrated before trial,

but in the more common cases where a potential for conflict exists which may or

may not burgeon into an actual conflict as the trial progresses.” Id. at 163. In sum,

the district court must acknowledge the presumption in favor of chosen counsel but

understand that the “presumption may be overcome not only by a demonstration of

actual conflict but by a showing of a serious potential for conflict.” 486 U.S. at

164. ANALYSIS AND HOLDING

              The court’s task here is to consider whether a conflict of interest or a

                                              7
       Case 5:04-cr-40141-JTM       Document 98      Filed 01/26/05     Page 8 of 16




serious potential for a conflict of interest exists and whether the defendants’ waiver

of conflict-free counsel is an adequate remedy under the circumstances.        The

government argues that not only is there a serious potential for a conflict of interest

to exist but that there is an actual conflict of interest and that the defendants’ waiver

would be inadequate remedy considering the facts and charges alleged here. The

government represents that based on available evidence it appears the defendants

have different levels of culpability and could rely on divergent defense strategies

which would inculpate each other. The defendants discount the government’s

arguments as mere speculation and lacking in facts to establish any actual or

potential conflicts of interest.

              Just from what the government represents to be some of the evidence

in this case, convincing proof is offered for finding a serious potential for, if not an

actual, conflict of interest. In its brief, the government references evidence that

only Arlan Kaufman was present on November 8, 1999, when certain residents of

the Kaufman House were allegedly subjected to involuntary servitude. The

government also asserts there will be evidence the involuntary servitude resulted

from a climate of fear existing at the Kaufman House that was created in part by

Arlan Kaufman’s purported therapy which entailed sexual exploitation, physical

punishment, and psychological manipulation. The government suggests a likely

                                             8
      Case 5:04-cr-40141-JTM        Document 98       Filed 01/26/05    Page 9 of 16




defense for Linda Kaufman may be to distance herself from happenings on

November 8th and from the alleged therapeutic activities administered by her

husband.

              The subsequent filing of the first superseding indictment includes

additional allegations that also support the likelihood of differing levels of

culpability. Paragraph eleven distinguishes between the nursing services

(dispensing medication and transportation) provided by Linda Kaufman and the

therapy services provided by Arlan Kaufman. Paragraph fourteen alleges Arlan

Kaufman was the representative payee for some residents’ social security disability

benefits and the guardian for one resident. As part of the conspiracy, it is alleged

the defendants took the residents’ disability benefits and wrote checks from the

residents’ checking accounts. The different counts alleging criminal misconduct

with regards to Medicare claims appear largely concerned with the billing for Arlan

Kaufman’s therapy services and sessions that were not provided and not

documented. Arlan Kaufman submitted the provider applications to Medicare.

The indictment further alleges that the residents “as part of the purported ‘therapy’

[were] forced and coerced . . . to perform sexually explicit acts,” and the

indictment lists some of the sexually explicit labor and services provided. The

indictment charges that the defendants recorded these “purported ‘therapy’

                                             9
      Case 5:04-cr-40141-JTM       Document 98      Filed 01/26/05     Page 10 of 16




sessions” and lists some of the actions of nude residents captured on these video

tapes. In both listings of sexual activities, the indictment names Arlan Kaufman, but

not Linda Kaufman, as directly participating in those activities. The indictment

alleges the defendants falsely billed residents and their families for medical

management services which consisted of Linda Kaufman simply making the

medications available to residents to self-administer. Finally, the varying levels of

culpability and the different areas of individual involvement and responsibility are

most convincingly shown through the overt acts laid out in paragraph fifty-one of

the first superseding indictment which appear to summarize some of the

government’s more important evidence. The court believes the above evidence and

allegations point to significantly different levels of culpability and involvement

between the Kaufmans that establish the serious potential for conflicts of interest.

              Considering the complexity and breadth of the charges here as well as

the obvious distinctions in culpability and involvement, the court easily foresees

times when the defendants’ interests could diverge on material factual or legal

issues or on the proper course of action. As reflected in the indictment, the

government’s evidence regarding the alleged therapy services is central to many of

the charges, and Arlan Kaufman appears to have been the principal provider of

those alleged services. It seems plausible that defense counsel for Linda Kaufman

                                            10
      Case 5:04-cr-40141-JTM        Document 98       Filed 01/26/05   Page 11 of 16




would want to minimize Linda’s involvement in or knowledge of those alleged

therapy services and to emphasize her co-defendant’s primary or exclusive

responsibility over the same. Thus, joint counsel could not use best efforts to

exonerate Linda Kaufman without advancing a position that at the same time could

prove damaging to the defense of Arlan Kaufman. The court further understands

that an actual conflict may already exist, because the government has sent

correspondence asking for plea discussions with Linda Kaufman which place the

Wyrsch firm in the difficult position of negotiating a plea agreement that would

compromise its ethical obligation to Arlan Kaufman. See United States v. Hall,

200 F.3d 962, 966 (6th Cir. 2000) (“Foregoing plea negotiations is proof of an

actual conflict of interest.” (citations omitted)).

              The likelihood, the number and the seriousness of potential conflicts

here are such that in this court’s opinion the waivers would not provide an effective

remedy for the court’s independent interests in ensuring that ethical standards are

met, that legal proceedings appear fair to observers, that a fair trial for both

defendants occurs, and that the resulting judgments “‘be free from future attacks

over the adequacy of the waiver or the fairness of the proceedings . . . and the

subtle problems implicating the defendant’s comprehension of the waiver.’”

Wheat, 486 U.S. at 162 (quoting United States v. Dolan, 570 F.2d 1177, 1184 (3rd

                                             11
      Case 5:04-cr-40141-JTM      Document 98      Filed 01/26/05    Page 12 of 16




Cir. 1978)). The complexity and breadth of the charges as well as the number and

extent of plausible defenses significantly complicate any meaningful attempt at

obtaining an intelligent and knowing waiver. Indeed, the court even questions

whether it is in a position to make the defendants sufficiently aware of all the

foreseeable prejudices from multiple representation in this case. In the court’s

estimation, the defendants’ proposed written waivers do not provide sufficient

details on what the defendants have been told about the foreseeable prejudices and

dangers from joint representation under the uniquely complex circumstances of this

case and the likely consequences flowing from those prejudices. The effectiveness

and adequacy of any waivers here are open to critical questioning.

             The court has given due weight to the presumption in favor of the

defendants’ chosen counsel and appreciates the significant burdens and hardships

placed on the defendants with the retention of new counsel. These very reasons

were behind the court’s initial reluctance to grant the government’s motion. From

what appears in the superseding indictment, there is not any reason to believe that

the government manufactured the reasons or circumstances argued in its motion.

Nor is the court without the means to mitigate the hardships and burdens should the

defendants show their need.

             Finally, the court rejects the defendants’ alternative proposed remedy

                                           12
      Case 5:04-cr-40141-JTM       Document 98       Filed 01/26/05    Page 13 of 16




of securing independent counsel for Linda Kaufman and having the Wyrsch firm

continue its representation of Arlan Kaufman. As the Supreme Court in Holloway

reiterated, the evil from joint representation of conflicting interests is “what the

advocate finds himself compelled to refrain from doing.” 435 U.S. at 490. If with

separate counsel Linda Kaufman chooses to testify as part of her defense or

pursuant to a plea agreement, it is likely that counsel for Arlan Kaufman would need

to cross-examine her vigorously, but the Wyrsch firm’s prior representation of

Linda Kaufman would ethically prevent the firm from providing this cross-

examination. Wheat, 486 U.S. at 164. The Wyrsch firm necessarily gained

substantial knowledge about confidential matters from Linda Kaufman having

represented her and her husband for a number of years in both civil and

administrative matters arising out of the same transactions or occurrences that are at

issue in or factually related to the events charged in the superseding indictment.

Thus, the inherent danger of divided loyalties from successive representation is

particularly great here, not only in conducting cross-examinations, but in objecting

to evidence and in pursuing different trial strategies.

              Having weighed the presumption afforded the defendants’ choice of

counsel with and against all of the factors discussed above and argued in the

parties’ briefs, the court finds for the reasons stated above that the conflicts of

                                            13
     Case 5:04-cr-40141-JTM       Document 98     Filed 01/26/05   Page 14 of 16




interest here warrant separate counsel and that the Wyrsch firm shall not represent

either defendant. The court directs the defendants to secure new counsel and/or

request appointed counsel and further directs the Wyrsch firm to assist the

defendants in this regard should the defendants ask for the firm’s help. For now,

the court will not set a deadline for entry or appointment of new defense counsel,

but it expects each defendant will act promptly in obtaining new counsel.

MOTION FOR COMPLEX CASE DESIGNATION (Dk. 81)

             The government's motion for complex case designation under the

Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(B)(ii), is not opposed by any written

filing. At the hearing, the defendants represented that they joined the government’s

motion, and that they waived their rights to a speedy trial. The government

describes the discovery to be made available to the defendants includes seventy-

five boxes of materials and documents, two hundred videotapes, one hundred

audiotapes, and other information yet to be recovered from computers and other

equipment. The court finds that a complex case designation will give the

defendants and their counsel the reasonable time necessary for effective preparation

of a defense, including the review of this voluminous discovery. See 18 U.S.C. §

3161(h)(8)(B)(iv). The parties and the court agree that this case is a complex one,

such that it is unreasonable to expect defense counsel to be adequately prepared

                                          14
      Case 5:04-cr-40141-JTM       Document 98       Filed 01/26/05    Page 15 of 16




for pretrial proceedings and for the trial to commence within the seventy-day time

limits established by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii). A

complex case designation will allow the government the reasonable time necessary

for effective preparation of its numerous exhibits and witnesses for a multi-week

trial. See 18 U.S.C. § 3161(h)(8)(B)(iv). The court finds no lack of due diligence

on the part of government counsel or counsel for the defense.

              The court grants the government's motion and finds that designating

this case as a complex one will benefit the defendants, and the resulting delay in

setting the trial of this matter will serve the ends of justice. The ends of justice

served by the granting of the government's motion outweigh the best interests of the

public and the defendants in a speedy trial. Any delay resulting from this requested

designation is excludable under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

specifically § 3161(h)(8)(A), as it serves the ends of justice and outweighs the best

interest of the public and the defendants in a speedy trial.

              IT IS THEREFORE ORDERED that the government’s motion to

disqualify defense counsel (Dk. 74) is granted;

              IT IS FURTHER ORDERED that this case is designated as a

complex case in accordance with 18 U.S.C. § 3161(h)(8)(B)(ii), and that the time

from January 4, 2005, until the trial setting is excludable under the Speedy Trial Act,

                                            15
     Case 5:04-cr-40141-JTM       Document 98     Filed 01/26/05   Page 16 of 16




18 U.S.C. § 3161, et seq., specifically § 3161(h)(8)(A).

             IT IS FURTHER ORDERED that all pretrial motions with the

exception of limine motions are due by March 31, 2005, all responses to the

motions are due on April 14, 2005, any necessary hearing on the motions will be

held on May 3, 2005, at 10:00 a.m., the status conference will be conducted on

August 31, 2005, at 10:00 a.m., and the jury trial is scheduled to commence on

October 5, 2005, at 10:00 a.m. following a meeting in chambers at 9:30.

             Dated this 26th day of January, 2005, Topeka, Kansas.



                                 s/ Sam A. Crow
                                 Sam A. Crow, U.S. District Senior Judge




                                          16
